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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS


In re: JONES, PAUL                                            Chapter 13
                                                              Case No. 07-10729-JNF

         MOTION OF CHAPTER 13 TRUSTEE FOR ORDER DISMISSING CASE
                            FOR FEASIBILITY
                NOTICE OF BAR DATE OBJECTIONS/RESPONSES

    Now comes the Chapter 13 Trustee (the "Trustee") and respectfully moves the Court for an
Order dismissing this case. In support thereof, the Trustee states as follows:

   1. On February 7, 2007, the above-captioned debtor (the "Debtor") filed a petition for relief
      under Chapter 13 of the United States Bankruptcy Code.
   2. On March 27, 2007, the Trustee convened and presided at a meeting of creditors as
      required by 11 U.S.C. §341.
   3. Upon recommendation of the Trustee, the plan was confirmed effective March 1, 2007.
   4. The Trustee has reviewed the proofs of claim filed in this case, and believes that the plan
      is not sufficient to pay all of the claims as filed. As a result, the plan is unfeasible and the
      case should be dismissed pursuant to 11 U.S.C. §1307(c)(1). In particular, the secured
      claim of the MDOR is higher than included in the plan and therefore makes the plan
      unfeasible. According to PACER, the Debtor has not filed an Amended plan, and no
      objections to the claims have been filed. Therefore, the case should be dismissed.


       WHEREFORE, the Trustee respectfully requests that this Court enter an Order
dismissing this case.

Respectfully Submitted,

By: /s/ Carolyn Bankowski
Carolyn Bankowski, BBO #631056
Patricia A. Remer, BBO #639594
Office of the Chapter 13 Trustee
P.O. Box 8250
Boston, MA 02114
(617) 723-1313
 Date: October 31, 2008
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS


In re: JONES, PAUL                                          Chapter 13
                                                            Case No. 07-10729-JNF


                                 ORDER DISMISSING CASE


The motion of the Chapter 13 Trustee to dismiss this case having come before this Court, due
notice having been given, and for cause shown, it is hereby:


         ORDERED: that this Chapter 13 case is dismissed.



Dated:



                                                   ___________________________
                                                   U.S. Bankruptcy Judge
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS


In re: JONES, PAUL                                          Chapter 13
                                                            Case No. 07-10729-JNF

                  NOTICE OF BAR DATE FOR OBJECTIONS/RESPONSES

Notice is given that any responses and/or objections to this motion are to be filed within twenty
(20) days of the date hereof. If no timely objections/responses are filed, the Court may act on
this motion without further notice or hearing as provided by 11 U.S.C.§102(1)(B).


                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the within Trustee’s Motion to Dismiss was
served upon the Debtor, Debtor's counsel of record and those parties listed on the following
service list by first class mail, postage prepaid or by electronic notice.


Dated: October 31, 2008


                                             /s/ Carolyn Bankowski


                                         SERVICE LIST

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